  Case 1:21-cv-00717-SB Document 41 Filed 04/19/22 Page 1 of 1 PageID #: 833




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   EMILY SOUSA,                                   )
                                                  )
          Plaintiff,                              )
                                                  )
          v.                                      )   C.A. No.: 1:21-cv-00717-SB
                                                  )
   AMAZON.COM, INC., AMAZON.COM                   )
   SERVICES LLC, and LAWRENCE                     )
   DORSEY, in his individual and                  )
   professional capacities                        )
                                                  )
          Defendants.                             )

               NOTICE OF WITHDRAWAL OF ANTHONY B. BIZIEN, ESQ.
                           AS ATTORNEY OF RECORD

      PLEASE TAKE NOTICE that pursuant to Local Rule 83.7, Anthony G. Bizien, Esq.

hereby withdraws his appearance as counsel for Plaintiff Emily Sousa in the above-captioned

matter. Plaintiff continues to be represented by Lawrence Pearson, Esq, Michele D. Allen Esq. and

Emily A. Biffen Esq.

                                                          ALLEN & ASSOCIATES

                                                          /s/ Michele D. Allen
                                                          Michele D. Allen (#4359)
                                                          Emily A. Biffen (#6639)
                                                          4250 Lancaster Pike, Suite 230
                                                          Wilmington, DE 19805
                                                          (302) 234-8600
                                                          (302) 234-8602 (fax)
                                                          michele@allenlaborlaw.com
                                                          emily@allenlaborlaw.com
                                                          Attorneys for Plaintiff


Dated: April 19, 2022
